
312 So.2d 538 (1975)
G.M.K., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 74-81.
District Court of Appeal of Florida, Second District.
May 14, 1975.
James A. Gardner, Public Defender, Bradenton, for appellant.
Robert L. Shevin, Atty. Gen., Tallahassee, and Robert J. Landry, Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
Appellant was adjudicated to be a delinquent child based upon a plea of nolo contendere entered by his attorney. The record does not reflect that the court made any determination that the plea had been made voluntarily and with understanding of the nature of the allegations as required by R.J.P. 8.080(a)(1). Cf. Boykin v. Alabama, 1969, 395 U.S. 238, 89 S.Ct. 1709, 23 L.Ed.2d 274. Therefore, this case is hereby remanded with the request that the court hold a hearing for the purpose of determining whether the plea was voluntarily made with an understanding of the nature of the allegations and for such further proceedings as may be appropriate, depending upon the outcome of this determination.
McNULTY, C.J., and HOBSON and GRIMES, JJ., concur.
